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 EXHIBIT 45
交通银行 - 交银金融网
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                                     交银金融网                    手机版         手机银行           常用信息       境内客服热线：95559      简   繁   En   请输入您要搜索的关键词

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                                                                                        公司业务
                                                                                      时间：2016-01-20



       公司业务 存款理财

                     现金管理

                     产业链金融

                     投资银行

                     政府金融

                     汽车金融

                     航运金融

                     贵金属及大宗商品

                     中国企业海外拓展融资方案

                     流动资金贷款

                     固定期限贷款

                     固定资产贷款

                    

       国际业务 跨境人民币

                     汇率管理服务

                     外汇理财服务

                     国际结算
                                                                                                                                            手机版门户
                     贸易融资

                     境内外联动业务
                                                                                                                                            微信银行
                     电子化业务

                     "代理行服务                                                                                                                 手机银行
                     代客外汇买卖
                                                                                                                                             在线客服
                    

       资产托管 证券投资基金托管

                     养老金托管

                     证券公司客户资产管理

                     私募投资基金托管

                     期货公司资产管理计划托管

                     基金管理公司特定客户资产管理计划托管

                     信托计划保管

                     银行理财产品托管

                     客户资金托（保）管

                     保险资金托管

                     跨境资产托管




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                     证券投资基金信息披露

                    

                    

       投资银行 债务融资

                     权益融资

                     资产管理

                     财务顾问

                     资产证券化

                     银团贷款

                     证券经纪

                    

                    

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                     离岸全球代发业务

                     离岸外汇买卖

                     离岸融资

                     离岸同业合作

                     离岸网银

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                                                                                         Corporate Services

                                                                                              Date: 01/20/2016


  Corporate Services             Deposits and Wealth Management
                                 Cash Management
                                 Supply Chain Finance
                                 Investment Banking
                                 State Finance
                                 Automobile Finance
                                 Shipping Finance
                                 Precious Metals and Commodities
                                 Financing Plans for Chinese Enterprises Expanding Overseas
                                 Working Capital Loans
                                 Fixed Term Loans
                                 Fixed Asset Loans


  International Services Cross-border RMB
                                 Exchange Rate Management Services
                                                                                                                                                                                                    Portal for Mobile
                                 Foreign Exchange Financial Management Services                                                                                                                         Version

                                 International Settlement                                                                                                                                           WeChat Banking
                                 Trade Finance
                                 Domestic and Overseas Linkage Services                                                                                                                              Mobile Banking

                                 Digitized Services                                                                                                                                                          Online
                                                                                                                                                                                                            Customer
                                 “Agency Bank Services                                                                                                                                                       Service
                                 Purchase and Sale of Foreign Exchange for Customers                                                                                                                 Back to Top



  Asset Custody Services               Securities Investment Fund Custody Service
                                 Pension Custody Service
                                 Client Asset Management of Securities Companies
                                 Private Investment Fund Custody Service
                                 Custody Service for Asset Management Plan of Brokerages
                                 Custody Service for Asset Management Plan of Specific Clients of Fund Management Companies
                                 Trust Plan Custody Service
                                 Custody Service for the Bank’s Financial Products
                                 Custody Service (Trusteeship) for Client’s Funds
                                 Insurance Fund Custody Service
                                 Custody Service for Cross-border Assets
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                             Information Disclosure of Securities Investment Funds


  Investment Banking         Debt Financing
                             Equity Financing
                             Asset Management
                             Finance Consultancy
                             Asset Securitization
                             Syndicated Loans
                             Securities Brokerage Services


  Offshore Services          Offshore Account Services
                             Offshore Settlement Services
                             Global Offshore Agency Services
                             Offshore Purchase and Sale of Foreign Exchange
                             Offshore Financing
                             Cooperation of Offshore Financial Institutions
                             Offshore Internet Banking
                             Offshore Customer Services




  Trust Business




  Leasing Business




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